5/19/2017                           Two Events Highlight Frustration Over BPC Center Delay | Tribeca Trib Online
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        “We want this community center to be run the right way, and the way that it's set up under the terms of the
        current agreement it doesn't provide for so much of what the community expected.”
        The community center at 200 North End Avenue, built and furnished by the Battery Park City Authority, was
        originally slated to open last November. But an
        ongoing contract dispute between the Authority and
        the community center’s chosen operator, Asphalt
        Green, continues to delay its opening, the Authority
        acknowledged last month.
        “We have encountered difficulties in preparing to
        implement our contract with Asphalt Green,
        primarily because of the differing requirements for
        transparency and community participation BPCA
        must comply with in spending public money, as
        compared to a private organization,” recently
        appointed BPCA chair man Dennis Mehiel said in a
        statement. “We are actively pursuing a solution that
        will allow the Center to open under terms and
        conditions that protect the assets we are charged
        with administering.”
        As of Oct. 3, the center has been cleared by the
        Department of Buildings to open, but the day when
        residents will be able to use the basketball courts,
        gym, swimming pools and other facilities remains
        uncertain. Since Mehiel’s statement on Sept. 12,
        neither the Battery Park City Authority nor Asphalt
        Green will publicly comment on the contract under
        dispute.
        Asphalt Green supporters say, unequivocally, that
        they want the organization to run the center and
        without more delay. Those like Coleman, boosters      Top: A rally in support of renegotiating the Authority's
        of the local youth leagues and the Manhattan Youth­ contract with Asphalt Green on Thursday. Above: Liz
                                                              McCabe addresses residents on Sunday about organizing
        run Downtown Community Center, want guarantees in support of Asphalt Green.
        that people of all means can use its facilities and
        that programs run by Asphalt Green will not take away field time from the leagues, or the summer camp run by
        Manhattan Youth.
        “We want to make sure these details that we care about don’t get lost,” said BPC parent Stacia Harris, one of the
        rally’s organizers. “We are not against it opening. We want it open soon, we just want to make sure it is done
        right.”
        Organizers of the rally on Thursday said they want to see a “complete revision” of the contract with Asphalt
        Green to reflect a 2010 memorandum of understanding crafted by Community Board 1.
        The memorandum, which was never signed by the Battery Park City Authority, creates a committee of local
        officials, community board members and stakeholders to oversee decisions regarding use of the ballfields. The
        committee would also have a say in whether Asphalt Green could run any programs that would compete with
        those by Manhattan Youth  or local youth leagues. 
        “We don't know that we are losing anything yet,” said Downtown Soccer League president Bill Bialosky, who
        was originally told that Asphalt Green had no interest in the ball fields. So far, Bialosky said, Asphalt Green has
        only asked for ball field time during the summer, when it would cut into time set aside for Manhattan Youth’s
        campers, but not any of the sports leagues.
        “We just want to see a community charter established that really forms this roadmap [for the ball fields] and
        doesn't leave it up to the discretion of someone,” Bialosky said.
        The memorandum would also ban the Authority from subsidizing programs at the community center that
        compete with the Downtown Community Center without also offering funding to the Downtown Community
        Center.
        Those who want Asphalt Green to open right away say there’s plenty of demand for youth programs offered by
        both the Downtown Community Center and Asphalt Green.
        “There are enough kids down here to support all the programs,” said Chris Nelson. “It would be nice to have
        some choices … I think it would be better for the community to have a little variety.”


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        Under the current contract, Asphalt Green supporters argue, there is no evidence that the ball fields are in
        jeopardy. They say they are frustrated by efforts to renegotiate a contract that has already been signed.
        “They went through a bidding process. They’ve been approved,” said Erika Teresko, a Battery Park City parent
        who has been active in the movement to open the center. “I want to trust the original process.”
        Teresko and fellow event organizer Liz McCabe have collected more than 350 signatures so far in an online
        petition calling for Asphalt Green to open. 
        Representatives from both groups are expected to speak to Community Board 1 at its monthly meeting Tuesday,
        6 p.m. at the South Street Seaport Museum.
        In the meantime, Teresko, who paid for memberships to Asphalt Green months ago, anxiously awaits a
        resolution.
        “I think it’s sad that we are not able to see this resource to fruition,” she said.
         
         

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